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Barbara Beatty

From:                Dawn Shaw <dawnshaw1@cox.net>
Sent:                Monday, April 4, 2022 1:01 PM
To:                  Barbara Beatty
Subject:             Feedback


CAUTION ‐ EXTERNAL:


Hello,

Please pass this on to any & all of the powers‐ that‐be there from just a common woman out here in normal society…

I am absolutely&totally disgusted that Jasiel Correia has gotten a SEVENTH delay on his corruption charges. Can’t make
this up !!!!

If he was a common thug, would he be granted all these delays?!

He is a “thug”, in my opinion …. but he’s not common. He OBVIOUSLY has connections and that’s why he gets away
with this, I can safely assume.

The law is equal for everyone?! I think not. This case proves it entirely. So disappointing & angering……..

Only the privileged get more privileges ……..

Thank you, in advance, for passing this on,

Dawn Shaw

Sent from my iPhone
CAUTION ‐ EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or
clicking on links.




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